1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 1 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 2 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 3 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 4 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 5 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 6 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 7 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 8 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 9 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 10 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 11 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 12 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 13 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 14 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 15 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 16 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 17 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 18 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 19 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 20 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 21 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 22 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 23 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 24 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 25 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 26 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 27 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 28 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 29 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 30 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 31 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 32 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 33 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 34 of 35
1:18-cv-00492-AMQ-SVH   Date Filed 06/15/18   Entry Number 23-1   Page 35 of 35
